                           IN THE UNITED STATES DISTRICT —U3URT
                                FOR THE MIDDLE DISTRICT OF
                                 TENNESSEE AT NASHVILLE


JUSTIN EUGENE EVANS,                                 )

Plaintiff,                                           )
                                                             CASE NO.3:21-cv-0025.5
V.                                                   )
                                                             Judge Trauger
NASHVILLE FILM INSTITUTE, LLC,                       )

Defendant.                                           )

                                        VERDICT FORM


1.       Do you find by a preponderance of the evidence that Defendant NFI discharged Mr. Evans

         because it regarded him as having a mental impairment?

                     YES      !/      NO


         If you answered "NO", do not answer the additional questions. If you answered "YES" to
         Question 1, proceed to answer Questions 2, 3, 4, and 5.



2.       State what back pay damages, if any, Plaintiff should be awarded against Defendant.



        (Amount of Damages)



3.      State what compensatory damages, (emotional distress, inconvenience, embarrassment,

        humiliation, and loss of enjoyment of life), if any, Plaintiff should be awarded against

        Defendant.



        (Amount of Damages)



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4.      If you answered "YES" to Question 1, but you find that the Plaintiff has not proven

        actual injury, do you award him $1.00 as nominal damages?


                     YES      -        NO




5.      Do you find that the Plaintiff has proven his entitlement to punitive damages against

        Defendant?


                     YES               NO



6.     If you answered "YES" to Question 5, state what amount Plaintiff should be awarded as

       punitive damages against Defendant.




        (Amount of Damages)




      Please have your Foreperson sign and date this Verdict Form and inform the Court Security
Officer that you have reached a verdict.




                                                          JW        REPERSON


                                                                 7 -3
                                                         DATE




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